               20-35599-cgm
     Fill in this                       Doc
                  information to identify your 1
                                               case:Filed   05/28/20 Entered 05/28/20 16:28:30                           Main Document
                                                                   Pg 1 of 11
     United States Bankruptcy Court for the:

     ____________________
     Southern              District
              District of New       of _________________
                                 York  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Central  Dover Development Corporation
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               247 Dover Furnace Road                                   _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Dover Plains                  NY    12522
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Dutchess County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             20-35599-cgm               Doc 1      Filed 05/28/20 Entered 05/28/20 16:28:30                                Main Document
                                                                Pg 2 of 11
                Central Dover Development Corporation
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✔ None of the above



                                           B. Check all that apply:
                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.naics.com/search/ .
                                              0081
                                              _________

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the                Chapter 7
      debtor filing?
                                            Chapter 9
                                           
                                           ✔ Chapter 11. Check all that apply:

                                                         
                                                         ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
            20-35599-cgm              Doc 1         Filed 05/28/20 Entered 05/28/20 16:28:30                                 Main Document
                                                                 Pg 3 of 11
              Central Dover Development Corporation
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
            20-35599-cgm              Doc 1        Filed 05/28/20 Entered 05/28/20 16:28:30                                 Main Document
                                                                Pg 4 of 11
               Central Dover Development Corporation
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/28/2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Wayne G. Tanner
                                               _____________________________________________               Wayne G. Tanner
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      President
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Dawn Kirby
                                               _____________________________________________              Date         05/28/2020
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Dawn Kirby
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Kirby Aisner & Curley LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                                700 Post Road Suite 237
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Scarsdale
                                               ____________________________________________________             NY            10583
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (914) 401-9500
                                               ____________________________________                              dkirby@kacllp.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                2733004                                                         NY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
         20-35599-cgm       Doc 1     Filed 05/28/20 Entered 05/28/20 16:28:30            Main Document
                                                   Pg 5 of 11
                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Central Dover Development Corporation                                           11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Wayne G. Tanner                                             100                     President
 247 Dover Furnace Road, Dover Plains, NY 12522
20-35599-cgm      Doc 1    Filed 05/28/20 Entered 05/28/20 16:28:30       Main Document
                                        Pg 6 of 11



                             United States Bankruptcy Court
                             Southern District of New York




         Central Dover Development Corporation
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/28/2020                         /s/ Wayne G. Tanner
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                 President
                                                 Position or relationship to debtor
20-35599-cgm           Doc 1        Filed 05/28/20 Entered 05/28/20 16:28:30            Main Document
                                                 Pg 7 of 11

AGA Supply Inc.                                        M&T Bank
Route 22 Dover Village Plaza                           PO Box 1345
Dover Plains, NY 12522                                 Buffalo, NY 14240


American National Insurance                            N&S Supply LLC
PO Box 22019                                           205 Old Route 9
Albany, NY 12201                                       Fishkill, NY 12524


Chrysler Capital                                       NYC Corporation Counsel
PO Box 660647                                          100 Church Street, RM 5-240
Dallas, TX 75266                                       Attn: Bankruptcy Dept.
                                                       New York, NY 10007

Corbally, Gartland & Rappleyea, LLP
Patrick T. Gartland, Esq.                              NYC Dept. of Finance
35 Market Street                                       345 Adams Street, 3rd Floor
Poughkeepsie, NY 12601                                 Brooklyn, NY 11201


County of Dutchess                                     NYS Commissioner of Tax & Finance
c/o James M. Fedorchak, Esq.                           WA Harriman Campus
22 Market Street, 5th Floor                            Albany, NY 12226
Poughkeepsie, NY 12601

                                                       NYS Dept. Taxation & Finance
Crown LP Gas                                           Bankruptcy/ Special Procedures Section
29 Charles Street                                      P.O. Box 5300
PO Box 668                                             Albany, NY 12205-0300
Pleasant Valley, NY 12569

                                                       NYSEG
Deer & Company                                         PO Box 847812
6400 NW 86th Street                                    Boston, MA 02284
PO Box 6600
Johnston, IA 50131
                                                       Orlando Family Hardware Store
                                                       PO Box 401
HG Page & Sons, Inc.                                   1815 Route 22
360 Manchester Road                                    Wingdale, NY 12594
Poughkeepsie, NY 12603

                                                       Salisbury Bank & Trust Company
Home Depot Credit Svcs/Citibank                        5 Bissell Street
Dept. 32-2188943231                                    PO Box 1868
PO Box 9001030                                         Lakeville, CT 06039-1868
Louisville, KY 40290

                                                       Sam's Club MC/ SYNCB
Internal Revenue Service                               PO Box 960016
Centralized Insolvency Operations                      Orlando, FL 32896
P.O. Box 7346
Philadelphia, PA 19101-7346
                                                       Solar City Corporation
                                                       3055 Clearview Way
John Deere Financial                                   San Mateo, CA 94402
PO Box 6600
Johnston, IA 50131
                                                       Wayne G. Tanner
                                                       247 Dover Furnace Road
                                                       Dover Plains, NY 12522
20-35599-cgm         Doc 1    Filed 05/28/20 Entered 05/28/20 16:28:30   Main Document
                                           Pg 8 of 11

Wayne Tanner
247 Dover Furnace Road
Dover Plains, NY 12522


Welsh Sanitation
PO Box 1209
Hopewell Junction, NY 12533
        20-35599-cgm
     B2030                 Doc 1
           (Form 2030) (12/15)                     Filed 05/28/20 Entered 05/28/20 16:28:30                                    Main Document
                                                                Pg 9 of 11

                                      United States Bankruptcy Court
                                                             Southern District of New York
                                               __________________________________
     In re   Central Dover Development Corporation

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         27,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         525.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        Dover-Farm Smokehouse LLC


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
   20-35599-cgm              Doc 1        Filed 05/28/20 Entered 05/28/20 16:28:30                              Main Document
 B2030 (Form 2030) (12/15)                             Pg 10 of 11
      d. [Other provisions as needed]
The professional services Kirby Aisner & Curley LLP will render to the Debtor include the following:
a. To give advice to the Debtor with respect to its powers and duties as Debtor in Possession and the continued management of its property and
affairs.

b. To negotiate with creditors of the Debtor and work out a plan of reorganization and take the necessary legal steps in order to effectuate such a
plan including, if need be, negotiations with the creditors and other parties in interest.

c. To prepare the necessary answers, orders, reports and other legal papers required for the Debtor?s protection from its creditors under Chapter 11
of the Bankruptcy Code.

d. To appear before the Bankruptcy Court to protect the interest of the Debtor and to represent the Debtor in all matters pending before the Court.

e. To attend meetings and negotiate with representatives of creditors and other parties in interest.

f. To advise the Debtor in connection with any potential sale of the business.

g. To represent the Debtor in connection with obtaining post-petition financing, if necessary.

h. To take any necessary action to obtain approval of a disclosure statement and confirmation of a plan of reorganization.

i. To perform all other legal services for the Debtor which may be necessary for the preservation of the Debtor?s estate and to promote the best
interests of the Debtor, its creditors and its estate.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation in an Adversary Proceeding, subject to further agreement with the Debtor.
20-35599-cgm    Doc 1     Filed 05/28/20 Entered 05/28/20 16:28:30                Main Document
                                       Pg 11 of 11



                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       05/28/2020                       /s/ Dawn Kirby, 2733004
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        Kirby Aisner & Curley LLP
                                       _________________________________________
                                             ​Name of law firm
                                        700 Post Road
                                        Suite 237
                                        Scarsdale, NY 10583
                                        (914) 401-9500
                                        dkirby@kacllp.com
